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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on January 8, 2021

UNITED STATES OF AMERICA
v.
VITALI GOSSJANKOWSKI,

Defendant.

CRIMINAL NO.
MAGISTRATE NO. 21-MJ-105

VIOLATIONS:
18 U.S.C. § 231(a)(3)
(Civil Disorder)

18 U.S.C. §§ 1512(c)(2), 2
(Obstruction of an Official Proceeding)

18 U.S.C. §§ 111(a)(1) and (b)
(Assaulting, Resisting, or Impeding
Certain Officers Using a Dangerous
Weapon)

18 U.S.C. § 1752(a)(1) and (b)(1)(A)
(Entering and Remaining in a Restricted
Building or Grounds with a Deadly or
Dangerous Weapon)

18 U.S.C. § 1752(a)(2) and (b)(1)(A)
(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds with a
Deadly or Dangerous Weapon)

40 U.S.C. § 5104(e)(2)(D)
(Disorderly Conduct in a Capitol Building)

INDICTMENT

The Grand Jury charges that:

On or about January 6, 2021,

COUNT ONE

within the District of Columbia, VITALI

GOSSJANKOWSKI, committed and attempted to commitan act to obstruct, impede, and interfere
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with a law enforcement officer, lawfully engaged in the lawful performance of his/her official
duties incident to and during the commission of a civil disorder, and the civil disorder obstructed,
delayed, and adversely affected the conduct and performance of a federally protected function.

(Civil Disorder, in violation of Title 18, United States Code, Section 23 1 (a)(3))

COUNTTWO
On or about January 6, 2021, within the District of Columbia and elsewhere,
VITALI GOSSJANKOWSKI, attempted to, and did, corruptly obstruct, influence, and impede an
official proceeding, that is, a proceeding before Congress, by entering and remaining in the United
States Capitol without authority and committing an act of civil disorder, and threatening
Congressional officials, and engaging in disorderly and disruptive conduct and destroying federal
property.

(Obstruction of an Official Proceeding and Aiding and Abetting, in violation of Title
18, United States Code, Sections 1512(c)(2) and 2)

COUNT THREE
On or about January 6, 2021, within the District of Columbia, VITALI
GOSSJANKOWSKI, using a deadly or dangerous weapon, that is, a Taser, did forcibly assault,
resist, oppose, impede, intimidate, and interfere with, an of ficerand employee of the United States,
and of any branch of the United States Government (including any member of the uniformed
services), that is, M.M., an officer from the United States Capitol Police Department, while such

officer or employee was engaged in or on account of the performance of official duties.

(Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapon, in
violation of Title 18, United States Code, Sections | | 1(a)(1) and (b))
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COUNT FOUR
On or about January 6, 2021, within the District of Columbia, VITALI
GOSSJANKOWSKL, did unlawfully and knowingly enter and remain in a restricted building and
grounds, that is, any posted, cordoned-off, and otherwise restricted area within the United States
Capitol and its grounds, where the Vice President and Vice President-elect were temporarily
visiting, without lawful authority to do so, and, during and in relation to the offense, did use and
carry a deadly and dangerous weapon, that is, a Taser.

(Entering and Remaining in a Restricted Building or Grounds with a Deadly or
Dangerous Weapon, in violation of Title 18, United States Code, Section | 752(a)(1) and

(b)(1)(A))
COUNT FIVE

On or about January 6, 2021, within the District of Columbia, VITALI
GOSSJANKOWSKI, did knowingly, and with intent to impede and disrupt the orderly conduct of
Government business and official functions, engage in disorderly and disruptive conduct in and
within such proximity to, a restricted building and grounds, that is, any posted, cordoned-off, and
otherwise restricted area within the United States Capitol and its grounds, where the Vice President
and Vice President-elect were temporarily visiting, when and so that such conduct did in fact
impede and disruptthe orderly conduct of Government business and official functions, and, during
and in relation to the offense, did use and carry a deadly and dangerous weapon, that is, a Taser.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds with a

Deadly or Dangerous Weapon, in violation of Title 18, United States Code, Section

1752(a)(2) and (b)(1)(A))

COUNT SIX

On or about January 6, 2021, within the District of Columbia, VITALI

GOSSJANKOWSKI, willfully and knowingly engaged in disorderly and disruptive conduct at any

place in the Grounds and in any of the Capitol Buildings with the intent to impede, disrupt, and

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disturb the orderly conduct ofa session of Congress and either House of Congress, and the orderly
conduct in that building of a hearing before or any deliberation of, a committee of Congress or
either House of Congress.

(Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
Section 5104(e)(2)(D))

A TRUE BILL:

FOREPERSON.

LA She. J

Attorney of the Unita” States in
and for the District of Columbia.
